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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO


                              )
UNITED STATES OF AMERICA, )
                              )             CRIM. No. 09-0102-S-BLW
                              )
          Plaintiff,          )
                              )             MEMORANDUM DECISION
v.                            )             AND ORDER
                              )
                              )
                              )
FRANCISCO OROPEZA             )
                              )
          Defendant.          )
______________________________)



                               INTRODUCTION

      The Court has before it two motions in limine – one filed by each side. As

explained below, the Court will deny the motion filed by the defense and reserve

ruling on the motion filed by the Government.




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                                    ANALYSIS

Government Motion in Limine

      The Government seeks to preclude counsel for defendant Oropeza from

attempting to elicit, during cross examination of an undercover officer, exculpatory

statements made by Oropeza to the officer. The defense responds that on direct

examination, the undercover officer will “cherry pick” Oropeza’s inculpatory

statements, opening the door under Rule 106 for the defense, on cross, to elicit

Oropeza’s exculpatory statements to ensure that the full context of the transaction

is fairly presented.

      These arguments require the Court to examine Rules 106 and 801, along

with the Confrontation Clause. The Court begins with Rule 801. Oropeza’s

inculpatory statements, offered by the Government through the undercover agent

are admissions of a party-opponent and therefore not hearsay. See Fed.R.Evid.

801(d)(2). Oropeza’s exculpatory statements, offered during the defense’s cross

examination of the officer, would be inadmissible hearsay. See Williamson v.

United States, 512 U.S. 594, 599 (1994). To admit the exculpatory statements on

cross would allow Oropeza to place his own statements before the jury “without

subjecting [himself] to cross-examination, precisely what the hearsay rule forbids.”

United States v. Ortega, 203 F.3d 675, 682 (9th Cir. 2000).


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      Rule 106, cited by Oropeza, applies only to written and recorded statements.

Id. There appears to be no dispute that the undercover officer will testify from his

recollection of the events, and hence Rule 106 does not apply. Moreover, Rule 106

cannot be used to admit otherwise inadmissible hearsay. Id.

      The Sixth Amendment's Confrontation Clause gives criminal defendants the

right to confront witnesses who make testimonial statements at trial, unless the

witness was unavailable to testify and the defendant had a prior opportunity for

cross examination. Crawford v. Washington, 541 U.S. 36 (2004). “In contrast,

non-testimonial statements do not implicate the Confrontation Clause.” See Moses

v. Payne, 555 F.3d 742, 754 (9th Cir. 2009). Oropeza’s statements are non-

testimonial as they were allegedly made during a drug deal to an undercover

officer. Moreover, no case holds that the defendant has a right to confront himself.

      However, the Confrontation Clause does give Oropeza the right on cross-

examination to question the reliability of the undercover officer; the Confrontation

Clause “secure[s] for the opponent the opportunity of cross-examination.”

Vasquez v. Kirkland, 572 F.3d 1029, 1036 (9th Cir. 2009). Oropeza must be

allowed on cross examination to “expose the jury to facts from which jurors . . .

could appropriately draw inferences relating to the reliability of the witness.” Id.

Nevertheless, the Confrontation Clause does not prevent a trial judge from


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imposing “reasonable limits” on cross-examination. Id. In two prior cases, the

Ninth Circuit has held that the Confrontation Clause was not violated when the

trial judge precluded the defendant from inquiring into his own exculpatory

statements during cross examination. See Ortega, 203 F. 3d at 682-83; United

States v. Nakai, 413 F.3d 1019, 1022-23 (9th Cir. 2005).

      Despite this weight of legal authority, the analysis remains fact-driven. See

Ortega, 203 F.3d at 683. The parties to this case have not made clear the precise

nature of the exculpatory statements or their context in the conversation as a whole.

Thus, the Court has no way of knowing at this point if the Confrontation Clause

would require that Oropeza – in order to satisfy his right to cross examination – be

allowed to pursue inquiry into his exculpatory statements during his cross

examination of the officer. This decision must await trial, and hence the Court will

reserve ruling on the motion at this time.

Defense Motion in Limine

      Oropeza seeks to exclude any testimony from the Government’s expert, Jack

Catlin, a Lieutenant with the Idaho State Police. Lt. Catlin will testify about the

nexus between drug trafficking and the possession of weapons. He will describe

the various reasons a drug dealer would possess a firearm. Oropeza argues that

this testimony will not aid the jury in understanding the evidence or to determine a


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fact at issue, and is hence inadmissible under Rule 702.

      The Circuit found helpful similar testimony in a § 924(c) case that (1) it was

common for drug traffickers to possess and use weapons in order to protect their

drugs and to intimidate buyers and (2) drug traffickers commonly kept a weapon

near their drugs. United States v. VonWillie, 59 F.3d 922 (9th Cir. 1995). Although

the officer in VonWillie testified as a lay witness under Rule 701, that Rule shares

with Rule 702 the requirement at issue here – that the testimony be helpful to the

jury. Thus the Circuit’s holding on this issue in VonWillie applies to this case:

The testimony “was helpful to the jury's ‘determination of a fact in issue,’ . . .

namely whether [the defendant] was involved in drug trafficking and whether he

used a firearm ‘in relation to’ a drug offense.” Id. at 929. As described by the

Government, Catlin’s testimony will assist the trier of fact to understand the

evidence, and hence the Court will not order it precluded at this time under Rule

702. Of course, this decision is predicated upon, and thus limited to, the specific

opinions identified by the Government.

                                       ORDER

      In accordance with the Memorandum Decision set forth above,

      NOW THEREFORE IT IS HEREBY ORDERED, that the defendant’s

motion in limine (docket no. 274) is DENIED.


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      IT IS FURTHER ORDERED, that the Government’s motion in limine

(docket no. 264) is RESERVED FOR TRIAL.

                            DATED: March 15, 2010




                             Honorable B. Lynn Winmill
                             Chief U. S. District Judge




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